Case 1:25-cv-10338-AK   Document 6-41   Filed 02/10/25   Page 1 of 8




                        EXHIBIT 41
      Case 1:25-cv-10338-AK           Document 6-41        Filed 02/10/25      Page 2 of 8




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASACHUSETTS


 COMMONWEALTH OF
 MASSACHUSETTS, et al.

                    Plaintiffs,                     Civil Action No. ________________

            v.


 NATIONAL INSTITUTES OF HEALTH;
 MATTHEW MEMOLI, M.D., M.S., in his
 official capacity as Acting Director of the
 National Institutes of Health; U.S.
 DEPARTMENT OF HEALTH AND
 HUMAN SERVICES; and DOROTHY
 FINK, M.D., in her official capacity as
 Acting Secretary of the U.S. Department of
 Health and Human Services,

                  Defendants.

                          Declaration of Dorota Grejner-Brzezinska

   I, Dorota Grejner-Brzezinska, hereby declare:

1. I am the Vice Chancellor for Research at the University of Wisconsin-Madison (“UW-

   Madison”), a position I have held since 2024. In this role, I have responsibility for overseeing

   the university’s research enterprise with more than $1.7 billion in annual research

   expenditures. My office also includes administration of 20 cross-campus research and service

   centers. The mission of the Office of the Vice Chancellor for Research is to advance

   excellence in research and scholarship, to support our multidisciplinary research centers and

   institutes, and to provide campus-wide administrative infrastructure to support and advance

   the research enterprise. Prior to holding this position, I was the Vice President of the Office

   of Knowledge Enterprise and a Professor of civil, environmental and geodetic engineering at

   The Ohio State University.


                                                                                                     1
       Case 1:25-cv-10338-AK         Document 6-41        Filed 02/10/25      Page 3 of 8




2. As the Vice Chancellor for Research, I have personal knowledge of the matters set forth

   below, or have knowledge of the matters based on my review of information and records

   gathered by university staff.

3. I am providing this declaration to explain certain impacts on UW-Madison of the National

   Institutes of Health (“NIH”) Notice Number NOT-OD-25-068, Supplemental Guidance to

   the 2024 NIH Grants Policy Statement: Indirect Cost Rates, which UW-Madison became

   aware of at approximately 5 p.m. on Friday, February 7, 2025. NIH’s Supplemental

   Guidance purports to impose, beginning on Monday, February 10, 2025, a standard indirect

   costs (IDC) rate of 15% to all grants awarded by the agency. The newly announced rate

   would apply to “new grant awards and existing grant awards,” giving it retroactive

   application to research already occurring at the university in reliance on the previously

   negotiated rate.

4. UW-Madison is Wisconsin’s flagship research university. It operates under the premise that

   research and education should influence the lives of others beyond the boundaries of the

   campus. Research at UW-Madison drives innovation related to treating adult and pediatric

   cancer, Alzheimer’s, diabetes, degenerative neurologic diseases, and more. Further, the

   research enterprise supports training and development of UW-Madison students. This

   research is supported by $513 million from the Department of Health and Human Services

   (DHHS), which primarily comes from the NIH.

5. UW-Madison has a Negotiated Indirect Cost Rate Agreement (“NICRA”) with DHHS,

   covering all federal agencies, and effective as of January 17, 2025. The IDC rate in UW-

   Madison’s NICRA is 55.5%. This rate is composed of 26% for administrative costs and

   29.5% for facility costs. Administrative costs are the general costs to administer research,



                                                                                                  2
       Case 1:25-cv-10338-AK          Document 6-41        Filed 02/10/25      Page 4 of 8




   such as accounting, payroll, and research oversight and are capped by federal law at 26%.

   Facility costs include the maintenance and depreciation of the research facilities.

6. UW-Madison’s federally negotiated IDC rate has remained steady, with slight increases since

   2013; at that time the negotiated rate was 53%, just marginally lower than the current 55.5%.

   UW-Madison reasonably relies on a generally consistent rate of negotiated IDC

   reimbursement in making its financial plans.

7. NIH’s reduction of UW-Madison’s negotiated IDC rate would eliminate approximately $65

   million in funding in the current year, and result in a similar reduction in resources available

   to support research each year. UW-Madison depends on this source to support its research

   programs and general infrastructure. The loss of these funds will immediately impact the

   university’s ability to draw critical funds used to pay expenses associated with its research

   enterprise. This includes the costs to support strict federal regulatory compliance mandated

   for federally funded research that are intended to, for example, promote national security

   interests and maintain the nation’s competitive edge through export controls and measures to

   prevent malign foreign influence; protect human and animal participants in research; protect

   public investments in research; ensure the safe conduct of research involving hazardous

   biological agents, recombinant DNA, and radiation; and ensure the integrity of research

   funded by American taxpayers.

8. UW-Madison’s campus includes over 17 million gross square feet dedicated to education and

   general purposes. Many of its buildings are highly technical, and more than half are over 50

   years old. Funding from IDC recovery goes directly toward maintenance, utilities, and

   renovations in these buildings, particularly for updating laboratories where much of the

   federally sponsored research is conducted. These projects ensure campus laboratories are not



                                                                                                      3
       Case 1:25-cv-10338-AK          Document 6-41        Filed 02/10/25      Page 5 of 8




   only properly equipped to support sophisticated, cutting-edge research, but to protect the

   safety of university scientists, students, and the surrounding community and meet federal

   compliance obligations. State law prevents the use of other sources of unrestricted revenue

   for campus-funded renovation projects and donor support for infrastructure upgrades is

   challenging to secure. Therefore, IDC revenue plays a critical role in maintaining the

   adequacy of our facilities; any revenue loss would only exacerbate our deferred maintenance

   backlog. The sudden loss of IDC funding imperils not just research space, as research and

   academic facilities at the University share buildings; reduced maintenance resources will

   affect the entire university physical environment.

9. Reduction of UW-Madison’s IDC rate will also negatively and specifically impact the

   institution’s ability to conduct clinical research related to cancer treatment (including

   pediatric), Alzheimer’s Disease and other types of dementia, cardiac conditions, fetal heart

   conditions, maternal–fetal health, autism, addiction recovery, diabetes, asthma, adolescent

   and adult depression and post-traumatic stress, infectious diseases, Huntington’s Disease,

   HIV, conditions affecting nursing home patients, veteran’s health, and more. Many research

   participants are on treatment trials, which means they are patients actively receiving

   innovative treatments that may impact their disease process or alleviate symptoms. More

   than 20,000 patients that have been in our care for at least a year are part of this research and

   the university has had 3,461 new enrollments so far in this fiscal year. IDCs are central

   among the funds that support infrastructure necessary for the conduct of this research,

   including laboratories and clinical space for the work, protocol review and secure data

   storage and transfer systems, and personnel tasked with ensuring regulatory compliance for

   the protection of human participants and their data. Sophisticated and extensive infrastructure



                                                                                                   4
       Case 1:25-cv-10338-AK          Document 6-41        Filed 02/10/25       Page 6 of 8




   is necessary to meet federal requirements related to protection of participants’ rights, welfare,

   and safety, and data integrity; data security for participants’ confidential and sensitive health

   information; data management and sharing with clincaltrials.gov and NIH/other repositories;

   financial reporting, including effort reporting, to demonstrate appropriate use of federal

   funds; and progress reporting to federal agencies. The unanticipated and abrupt loss of $65

   million will place the university in the sudden, untenable position of no longer being able to

   rely on promised federal funding to support the daily activities and operations that support

   life-saving clinical and translational research at UW-Madison. If alternative sources of

   funding cannot be secured to fill this void, the reduction in IDC could necessitate

   programmatic downsizing at the university, including potentially terminating some clinical

   trials, thereby leaving a population of patients with no viable alternative. At a minimum, the

   decrease will constrain our growth trajectory in clinical research, preventing us from fully

   serving the sickest and most vulnerable individuals in the region.

10. In addition to clinical research, NIH-funded fundamental science provides the building

   blocks to predict, prevent, diagnose, and treat disease. Medicines to treat cancer,

   neurodegenerative disease, diabetes, and numerous other ailments have been developed by

   leveraging breakthroughs made in basic science laboratories. Advancements in imaging

   technologies led by medical physicists now allow doctors to visualize diseased tissues in the

   body and ultimately treat them. In combination with genomics approaches developed by

   basic scientists, personalized medicine is now becoming a reality. The IDCs associated with

   these fundamental studies are essential to supporting the research infrastructure and the

   personnel who enable scientific discoveries in the lab. Maintaining and equipping buildings




                                                                                                    5
       Case 1:25-cv-10338-AK          Document 6-41         Filed 02/10/25       Page 7 of 8




   to conduct research is essential to keeping the U.S. at the forefront of knowledge and medical

   discoveries.

11. The timing of receipt of NIH’s announcement—late on Friday, February 7—of its intent to

   significantly curtail its IDC rate particularly strains the university and its researchers with

   respect to decisions about applications for grant awards. The submission deadline for NIH

   Research Training and Career Development (series K) awards is Wednesday, February 12,

   2025. These grants are often instrumental in fostering the success of early career scientists.

   Additionally, the deadline for small research grants (R03), exploratory grants (R21/R33,

   UH2/UH3), planning grants (R34), dissertation awards (R36), and planning cooperative

   projects (U34) is Sunday, February 16, 2025. NIH’s eleventh-hour change in available

   funding forces researchers and university administrators to reconsider whether to submit

   grant applications, many of which they have been fine-tuning for months, given uncertainty

   about whether the institution can afford to sustain these projects at a 15% IDC rate. The

   sense of whiplash is particularly acute, given that UW-Madison had finalized its most recent

   NICRA with DHHS less than three weeks prior.

12. UW-Madison typically draws down funds for NIH-funded projects twice per month and next

   anticipates drawing funds on or around February 17, 2025. At that time, if allowed to be

   implemented, the reduced IDC rate will result in UW-Madison experiencing a $3.9 million

   loss in IDC recovery for this upcoming draw.

I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.




                                                                                                     6
       Case 1:25-cv-10338-AK        Document 6-41       Filed 02/10/25   Page 8 of 8




Executed this 9th day of February, 2025, in Madison, Wisconsin.



                                                  /s/ Dorota Grejner Brzezinska
                                                  Dorota Grejner-Brzezinska
                                                  Vice Chancellor for Research
                                                  University of Wisconsin-Madison




                                                                                       7
